          Case 18-30765            Doc 11       Filed 09/16/18 Entered 09/17/18 00:48:40                         Desc Imaged
                                                Certificate of Notice Page 1 of 4
                                               United States Bankruptcy Court
                                                 District of Massachusetts
In re:                                                                                                     Case No. 18-30765-edk
Kathleen Guevin                                                                                            Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0101-3                  User: pf                           Page 1 of 1                          Date Rcvd: Sep 14, 2018
                                      Form ID: 309A                      Total Noticed: 10


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 16, 2018.
db             +Kathleen Guevin,   57 Bonair Ave,   West Springfield, MA 01089-2953
aty            +Damien J. Martin,   PO Box 300,   Hampden, MA 01036-0300
smg             MASS DEPT OF REVENUE,   BANKRUPTCY UNIT,   PO BOX 9564,   BOSTON, MA 02114-9564
20202109       +City of West Springfield,   Treasurers Office,   26 Central Street,
                 West Springfield, MA 01089-2781
20202108       +U.S. Bank National Association as Trustee,   425 Walnut Street,   Cincinnati, OH 45202-3956

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr             +EDI: BSWEISS.COM Sep 15 2018 04:03:00     Steven Weiss,   1441 Main Street,    Suite 1100,
                 Springfield, MA 01103-1450
smg            +E-mail/Text: duabankruptcy@detma.org Sep 14 2018 23:57:34      CHIEF COUNSEL, LEGAL DEPARTMENT,
                 DEPARTMENT OF UNEMPLOYMENT ASSISTANCE,   COMMONWEALTH OF MASSACHUSETTS,
                 19 STANIFORD STREET,1ST FLOOR,   Boston, MA 02114-2502
ust            +E-mail/Text: USTPRegion01.WO.ECF@usdoj.gov Sep 14 2018 23:57:33      Richard King,
                 Office of the U. S. Trustee,   446 Main Street,   14th Floor,    Worcester, MA 01608-2361
20202106       +EDI: GMACFS.COM Sep 15 2018 04:03:00     Ally Financial,    PO Box 380901,
                 Bloomington, MN 55438-0901
20202107       +E-mail/Text: bankruptcy@kordeassoc.com Sep 14 2018 23:57:43      Korde Associates,
                 900 Chelmsford Street,   Lowell, MA 01851-8102
                                                                                             TOTAL: 5

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 16, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on September 14, 2018 at the address(es) listed below:
              Damien J. Martin    on behalf of Debtor Kathleen Guevin attydmartin@aol.com
              Richard King     USTPRegion01.WO.ECF@USDOJ.GOV
              Steven Weiss     sweiss@ssfpc.com, MA11@ecfcbis.com;astephan@ssfpc.com
                                                                                            TOTAL: 3
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Information to identify the case:
Debtor 1              Kathleen Guevin                                                       Social Security number or ITIN      xxx−xx−3569
                      First Name   Middle Name     Last Name                                EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                    Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                            EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            District of Massachusetts
                                                                                            Date case filed for chapter 7 9/10/18
Case number:          18−30765


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case           12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read all pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, you may wish to consult an attorney. All documents filed in the case may be inspected through
PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other document in the case. Do not include more than the last four
digits of a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that
you file with the court.

                                                 About Debtor 1:                                      About Debtor 2:

1.      Debtor's full name                       Kathleen Guevin

2.      All other names used in the aka Katheleen Whitworth
        last 8 years

3.     Address                               57 Bonair Ave
                                             West Springfield, MA 01089

4.     Debtor's attorney                     Damien J. Martin                                         Contact phone (413) 433−5000
                                             PO Box 300
       Name and address                      Hampden, MA 01036                                        Email: attydmartin@aol.com

5.     Bankruptcy trustee                    Steven Weiss                                             Contact phone (413) 737−1131
                                             1441 Main Street
       Name and address                      Suite 1100                                               Email: sweiss@ssfpc.com
                                             Springfield, MA 01103
                                                                                                              For more information, see page 2>
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Debtor Kathleen Guevin                                                                                     Case number 18−30765 −edk
6. Bankruptcy clerk's office                    U.S. Bankruptcy Court                                 Hours open: Monday−Friday
                                                300 State Street, Suite 220                           8:30am−5:00pm
    Documents in this case may be filed at this Springfield, MA 01105
    address. You may inspect all records filed                                                        Contact phone 413−785−6900
    in this case at this office or online at
    www.pacer.gov.
                                                                                                      Date: 9/14/18

7. Meeting of creditors                          November 6, 2018 at 09:30 AM                         Location:

    Debtors must attend the meeting to be        The meeting may be continued or                      1350 Main Street, Suite 1112,
    questioned under oath. In a joint case,      adjourned to a later date. If so, the                Springfield, MA 01103
    both spouses must attend. Creditors may
    attend, but are not required to do so.       date will be on the court docket.


8. Presumption of abuse                          The presumption of abuse does not arise.
    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                     File by the deadline to object to Filing
                                                 discharge or to challenge whether deadline:
    Papers and any required fee must be          certain debts are dischargeable: 1/7/19
    received by the bankruptcy clerk's office
    no later than 4:30 PM (Eastern Time) by
    the deadlines listed.                     You must file a complaint:

                                                          • if you assert that the debtor is not
                                                            entitled to receive a discharge of
                                                            any debts under any of the
                                                            subdivisions of 11 U.S.C. §
                                                            727(a)(2) through (7), or
                                                          • if you want to have a debt
                                                            excepted from discharge under
                                                            11 U.S.C. § 523(a)(2), (4) or (6).

                                                 You must file a motion:

                                                          • if you assert that the discharge
                                                            should be denied under §
                                                            727(a)(8) or (9).


                                                 Deadline to object to exemptions:                    Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain              conclusion of the meeting of creditors
                                                 property as exempt. If you believe that the
                                                 law does not authorize an exemption
                                                 claimed, you may file an objection.


10. Deadline to file §503(b)(9)                  Requests under Bankruptcy Code                       Filing deadline: 60 days from the first
    requests:                                    §503(b)(9)(goods sold within twenty(20)              date set for the meeting of creditors
                                                 days of bankruptcy) must be filed in the
                                                 Bankruptcy Clerk's office.


11. Proof of claim                               For holder(s) of a claim secured by a                Filing deadline: 70 days from the
                                                 security interest in the debtor's principal          Filing Date of the Petition
                                                 residence, pursuant to Rule 3002(c)7(A):


                                                 For creditors other than those holding a Claim Secured by a Security Interest in the
                                                 Debtor's Principal Residence: A date has not been set yet. No property appears to be
                                                 available to pay creditors. Therefore, please do not file a proof of claim now. If it later
                                                 appears that assets are available to pay creditors, the clerk will send you another notice
                                                 telling you that you may file a proof of claim and stating the deadline.
                                                                                                             For more information, see page 3>
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Debtor Kathleen Guevin                                                                                     Case number 18−30765 −edk
12. Discharge of Debts                        The debtor is seeking a discharge of most debts, which may include your debt. A
                                              discharge means that you may never try to collect the debt from the debtor. If you
                                              believe that the debtor is not entitled to receive a discharge under Bankruptcy Code
                                              §727(a) or that a debt owed to you is not dischargeable under Bankruptcy Code
                                              §523(a)(2),(4), or (6), you must file a complaint or a motion if you assert the discharge
                                              should be denied under §727(a)(8) or (a)(9) in the bankruptcy clerk's office by the
                                              "Deadline to Object to Debtor's Discharge or to Challenge the Dischargeability of Certain
                                              Debts" listed on line 9 of this form. The bankruptcy clerk's office must receive the
                                              complaint or motion and any required filing fee by that deadline.

13. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

14. Financial Management Training Deadline for debtor to attend a financial management training program
    Program Deadline for the Debtor approved by the United States Trustee: Sixty (60) days from the first date set
                                    for the meeting of creditors. The discharge will not enter if the debtor fails to attend
                                    a financial management−training program approved by the United States Trustee or if
                                    the debtor attends such training and fails to file a certificate of completion with the
                                    U.S. Bankruptcy Court. The training is in addition to the pre−bankruptcy counseling
                                    requirement. A list of approved courses may be obtained from the United States
                                    Trustee or from the court's website at www.mab.uscourts.gov.

15. Exempt property                           The law allows debtors to keep certain property as exempt. Fully exempt property will
                                              not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                              exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                              www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                              debtors claim, you may file an objection. The bankruptcy clerk's office must receive
                                              the objection by the deadline to object to exemptions in line 9.

16. Abandonment of Estate Property Notice is hereby given that any creditor or other interested party who wishes to
                                   receive notice of the estate representative's intention to abandon property of the
                                   estate pursuant to 11 U.S.C. §554(a) must file with the Court and serve upon the
                                   estate representative and the United States trustee a written request for such notice
                                   within fourteen (14) days from the date first scheduled for the meeting of creditors.
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